Case 3:07-cV-05944-.]ST Document 411 Filed 11/19/08 Page 1 of 1

 

UN|TED STATES
A CERT¥FlED `TRUE COPY JUD|C|AL PANEL ON
ATTEST MULT[DlSTR|CT LlTlGATlON

UNITED sTATEs JUDICIAL PANEL
By Jai<eia Meus on Nov 19, 2008 on NOV 03, 2008

 

 

MULTIDISTRICT LITIGATION F| LED

 

 

 

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IN RE: CATHODE RAY TUBE (CRT)

ANTITRUST LITIGATION . 5 , ,,
Sound lnvestments Corp. v. Chunghwa Picture Tubes, ) "!O" 1 9 2008
Ltd., et al., D. New Jersey, C.A. No. 2:08-543 ) M@¢l,/H§bl&lzw€m~e
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CONDITIONAL TRANSFER ORDER (CTO-3)

On February 15, 2008, the Panel transferred one civil actions to the United States District Court for
the Northern District of California for coordinated or consolidated pretrial proceedings pursuant to
28 U.S.C. § 1407. See 536 F.Supp.Zd 1364 (J.P.M.L. 2008). Since that time, 15 additional actions
have been transferred to the Northern District of California. With the consent of that court, all such
actions have been assigned to the Honorable Samuel Conti.

lt appears that the action on this conditional transfer order involves questions of fact that are
common to the actions previously transferred to the Northern District of California and assigned to
Judge Conti.

Pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel on Multidistrict Lantion, 199
F.R.D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the Northern
District of California for the reasons stated in the order of F ebruary 15, 2008, and, with the consent
of that court, assigned to the Honorable Samuel Conti.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Coun for the Northern District of California. The transmittal of this order to said Clerk shall
be stayed 15 days from the entry thereof. If any party files a notice of opposition with the Clerk of
the Panel within this 15-day period, the stay will be continued until further order of the Panel.

 

|nasmuch as no objection is FOR THE PANEL:
pending al this lime the

stay is liftedy _
Nov 19, 2008 z zef%ry . mm

Clerk of the Panel

 

 

 

 

CLERK’S OFFICE
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